Case 1:20-cv-00298-CKK Document 1-1 Filed 02/06/20 Page 1 of 2
CIVIL COVER SHEET

JS-44 (Rey. 6/17 DC)

 

I. (a} PLAINTIFFS

SALEM MAULUD ABoULGAED
JAMAL ABDELNASAR STREET
Az-ZAWIYAH , LIBYA 99994

(EXCEPT IN U.S. PLAINTIFF CASES)

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF

DEFENDANTS

KHALIFA ABULGASIM HIFTER
5505 SEMINARN ROAD, oNIT 212

ARLINGTON 3VA 2220)
COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT VU SA

(IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LANI) CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 

{c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER}

Martin F.McMahon
INTK St. NW SuITE900

INASHINGTIN | D.o. 2000 (p

202-802-4343

ATTORNEYS (iF KNOWN)

 

 

1 U.S. Government
Plaintiff

oO 2 U.S. Government
Defendant

Il. BASIS OF JURISDICTION
(PLACE AN x IN ONE BOX ONLY)

UI. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY}
. PIF DFT PTF DFT
O 3 Federal Question
(U.S. Government Not a Party) | Citizen of this State oO: O01 Incorporated or Principal Place 0; O4
of Business in This State
@: See hio of Citizen of Another State oO 2 @2 Incorporated and Principal Place Os oO:
Parties in i TIT P of Business in Another State
‘arties in item Ill) Citizen or Subject of a @: oO:
Foreign Country Foreign Nation Oo 6 O 6

 

 

IV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place an X in one category, A-N, that best represents your Cause of Action and gone in a corresponding Nature of Suit)

 

O A. Antitrust

[-]410 Antitrust

@ B. Personal Injury/
Malpractice

((-] 310 Airplane
(J 315 Airplane Product Liability

© C. Administrative Agency
Review

(J 151 Medicare Act

(J 320 Assault, Libel & Slander Social Security

(_] 330 Federal Employers Liability L_] 861 HA (13958

[_] 340 Marine (J 862 Black Lung (923)

[__] 345 Marine Product Liability [_] 863 prwc/prww (405(g))
[_] 350 Motor Vehicle [=] 864 ssip Titte XVI

[_] 355 Motor Vehicle Product Liability | C_} 865 RSI (405¢g))

| 360 Other Personal injury

(J 362 Medical Malpractice

[] 365 Product Liability

ry 367 Health Care/Pharmaceutical
Personal Injury Product Liability

[} 368 Asbestos Product Liability

Other Statutes
891 Agricultural Acts

(_] 893 Environmental Matters

(J 890 Other Statutory Actions (If
Administrative Agency is
Involved)

 

 

© D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category
may be selected for this category of
case assignment.

*(1f Antitrust, then A governs)*

 

 

 

 

[_] 460 Deportation

 

 

© E. General Civil (Other) OR © F. Pro Se General Civil
Real Pr Bankruptcy Federal Tax Suits (__} 462 Naturalization
[ 1210 Land Condemnation [__] 422 Appeal 27 USC 158 ([_] 870 Taxes (US plaintiff or Application
[J 220 Foreclosure [] 423 Withdrawal 28 USC 157 defendant) (] 465 Other Immigration
[__]230 Rent, Lease & Ejectment [__] 871 IRS-Third Party 26 USC Actions
[J 240 Torts to Lane jsoner Petitions 7609 [[_] 470 Racketeer Influenced
(] 245 Tort Product Liability 535 Death Penalty & Corrupt Organization
[290 All Other Real Property 540 Mandamus & Other Horfetture/E snail (] 480 Consumer Credit
(1 550 Civil Rights L_] 625 Drug Related Seizure of
paces Fron [sss Prison Conditions Property 2 OSC ee mnttenCosmedite
370 Other Fraud [J 560 Civil Detainee — Conditions [J 690 Other Exchange
(371 Truth in Lending of Confinement reer [71896 Arbitration
[-)380 Other Personal Property Property Richts [_] 375 False Claims Act [__] 899 Administrative Procedure
[-J38s Property Damage 820 Copyrights [1376 Qui Tam 31 USC Act/Review or Appeal of
Product Liability [_} 830 Patent eM) Ceontvateane
[_] 835 Patent — Abbreviated New [J 400 State Reapportionment | [-] 950 Constitutionality of State
Drug Application | 430 Banks & Banking Statutes
(-) 840 Trademark [__] 450 Commerce/ICC (__] 890 Other Statutory Actions
Rates/etc. (if not administrative agency

review or Privacy Act)

 

 

 
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© G. Habeas Corpus/ O H. Employment O I. FOIA/Privacy Act © J. Student Loan
2255 Discrimination
[1] $30 Habeas Corpus— General (C] 442 Civil Rights — Employment [_] 895 Freedom of Information Act | []152 Recovery of Defaulted
(__] 510 Motion/Vacate Sentence (criteria: race, gender/sex, [J 890 Other Statutory Actions Student Loan
(J 463 Habeas Corpus - Alien national origin, {if Privacy Act) {excluding veterans)
Detainee discrimination, disability, age,

religion, retaliation)

 

 

 

 

 

*(If pro se, select this deck)* *(If pro se, select this deck)*
© K. Labor/ERISA O L. Other Civil Rights O M. Contract O N. Three-Judge
(non-emplopment) (non-employment) Court
(7) 110 Insurance
[J] 710 Fair Labor Standards Act (_] 441 Voting (if not Voting Rights EJ 120 Marine [7] 441 Civil Rights - Voting
[__] 720 Labor/Mgmt. Relations Act) {] 130 Miller Act (if Voting Rights Act)
[1] 740 Labor Railway Act [(__] 443 Housing/Accommodations L_] 140 Negotiable Instrument
| 751 Family and Medical C ] 440 Other Civil Rights 150 Recovery of Overpayment
Leave Act {__]445 Americans w/Disabilities — & Enforcement of
[__] 790 Other Labor Litigation Employment Judgment
(] 791 Empl. Ret. Inc. Security Act {446 Americans w/Disabilities — [7] 153 Recovery of Overpayment
Other of Veteran’s Benefits
[1] 448 Education [] 160 Stockholder’s Suits
[_] 196 Other Contracts
[__] 195 Contract Product Liability
[__] 196 Franchise
¥. ORIGIN
@ 1 Origin O2zRemoved © 3Remanded © 4Reinstated © STransferreé ©) 6 Multi-district © 7Appealto ©) 8 Multi-district
Proceeding from State from Appellate or Reopened from another Litigation District Judge Litigation —
Court Court district (specify) from Mag. Direct File

Judge

 

VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)

 

 

VII. REQUESTED IN CHECK IF THIS [S A CLASS DEMAND $ 1, 066 cdo } ooo Check YES only if demanded in complaint
COMPLAINT cs JURY DEMAND: YES noL_]
VIII. aia CASE(S) (Sec instruction) YES Cc] NO W] If yes, please complete related case form

 

 

 

pate: FEBRUARY %,2020 | SIGNATURE OF ATTORNEY OF RECORD Tw0Fé a

 

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for cach civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

I. COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate ptaintiff if resident
of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

Ill. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
under Section Il.

IV. CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
nature of suit found under the category of the casc.

VI. CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

VIII. RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
the Clerk's Office.

Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.

 
